                                                                     'JPRKSoFFlce u.8.pIsT.* ur
                                                                            AT Lo cyBunq VA .
                          IN THE U NITED STATESD ISTRICT C OURT                      FlL5o
                         FOR THE W ESTERN D ISTRICT OF V IRGINIA                JUL C3 2916
                                   LYNCIIBURG D IVISION                    JU         UD     ,CLERK
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  UNITED STATES OF AM ERICA,                           CIVIL ACTION N O.6:14-Cv-00005
                                    Plaintf

                                                       REFERRAL ORDER

  W ILLIAM L.W ALLIS,

                                 Defendants.           N ORM AN K .M OON
                                                       UNITED STATESDISTRICTJUDGE



      Upontheparties'request andptlrsuantto28U.S.C.j 636(b)(3)and Rule 16(a)(5)ofthe
 FederalRulesofCivilProcedure,thismatterishereby REFERRED form ediation ora settlement

 conferencew ith United StatesM agistrateJudgeJoelC .H oppe.The partiesarehereby O R DER ED

 toappearbeforeJudgeHoppetoparticipateinm ediation in an attempttofacilitatesettlem ent.The

 partiesaredirectedtocontacttheClerkoftheCourtinHarrisonbtlrgat(540)434-3181toschedule
 aconferencewith JudgeHoppe.

      TheClerk oftheCourtishereby directed to send acertified copy ofthisordertoallcounsel

 ofrecord and to JudgeHoppe.

      EN TER ED : July 3,2014.

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                                                NO      K.M OO
                                                IN TED STATES DISTRICT JUDGE




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